             Case 1:25-cv-23182-RAR Document
JS 44 (Rev. 04/21) FLSD Revised 12/02/2022   1-1 COVER
                                          CIVIL  Entered SHEET
                                                         on FLSD Docket 07/16/2025 Page 1 of 3
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)     PLAINTIFFS                                                                                           DEFENDANTS


   (b) County of Residence of First Listed Plaintiff                                                            County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:                     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                          THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (If Known)




(d) Check County Where Action Arose:                 MIAMI- DADE        MONROE        BROWARD         PALM BEACH      MARTIN     ST. LUCIE       INDIAN RIVER     OKEECHOBEE         HIGHLANDS

II. BASIS OF JURISDICTION                          (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                           (For Diversity Cases Only)                                            and One Box for Defendant)
    1    U.S. Government                  3    Federal Question                                                                     PTF          DEF                                             PTF DEF
           Plaintiff                            (U.S. Government Not a Party)                         Citizen of This State               1          1     Incorporated or Principal Place           4      4
                                                                                                                                                           of Business In This State

    2    U.S. Government                  4      Diversity                                            Citizen of Another State            2            2   Incorporated and Principal Place          5        5
           Defendant                            (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                      Citizen or Subject of a             3            3   Foreign Nation                            6        6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                               Click here for: Nature of Suit Code Descriptions
           CONTRACT                                              TORTS                                   FORFEITURE/PENALTY                   BANKRUPTCY                              OTHER STATUTES
  110 Insurance                         PERSONAL INJURY                  PERSONAL INJURY                 625 Drug Related Seizure               422 Appeal 28 USC 158               375 False Claims Act
  120 Marine                            310 Airplane                     365 Personal Injury -               of Property 21 USC 881             423 Withdrawal                      376 Qui Tam (31 USC 3729(a))
  130 Miller Act                        315 Airplane Product                 Product Liability           690 Other                                  28 USC 157                      400 State Reapportionment
  140 Negotiable Instrument                 Liability                    367 Health Care/                                                                                           410 Antitrust
  150 Recovery of Overpayment           320 Assault, Libel &                 Pharmaceutical                                            INTELLECTUAL PROPERTY                        430 Banks and Banking
                                                                                                                                                  RIGHTS
      & Enforcement of Judgment             Slander                          Personal Injury                                              820 Copyrights                            450 Commerce
  151 Medicare Act                      330 Federal Employers’               Product Liability                                            830 Patent                                460 Deportation
  152 Recovery of Defaulted                 Liability                                                                                     835 Patent – Abbreviated                  470 Racketeer Influenced
  Student Loans                                                          368 Asbestos Personal                                              New Drug Application                    and Corrupt Organizations
                                                                         Injury Product Liability                                         840 Trademark                             480 Consumer Credit
  (Excl. Veterans)                      340 Marine                                                                                        880 Defend Trade Secrets                    (15 USC 1681 or 1692)
                                                                                                                                            Act of 2016
  153 Recovery of Overpayment           345 Marine Product                                                         LABOR                   SOCIAL SECURITY                          485 Telephone Consumer
                                                                                                                                                                                    Protection Act (TCPA)
  of Veteran’s Benefits                      Liability                 PERSONAL PROPERTY                 710 Fair Labor Standards Acts    861 HIA (1395ff)                          490 Cable/Sat TV
  160 Stockholders’ Suits               350 Motor Vehicle               370 Other Fraud                  720 Labor/Mgmt. Relations        862 Black Lung (923)                      850 Securities/Commodities/
  190 Other Contract                    355 Motor Vehicle               371 Truth in Lending             740 Railway Labor Act            863 DIWC/DIWW (405(g))                    Exchange
  195 Contract Product Liability            Product Liability           380 Other Personal               751 Family and Medical           864 SSID Title XVI                        890 Other Statutory Actions
  196 Franchise                         360 Other Personal              Property Damage                      Leave Act                    865 RSI (405(g))                          891 Agricultural Acts
                                            Injury                      385 Property Damage              790 Other Labor Litigation                                                 893 Environmental Matters
                                        362 Personal Injury -           Product Liability                791 Employee Retirement                                                    895 Freedom of Information Act
                                            Med. Malpractice                                                Income Security Act                                                     896 Arbitration
         REAL PROPERTY                     CIVIL RIGHTS                PRISONER PETITIONS                                                 FEDERAL TAX SUITS                         899 Administrative Procedure
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                                                   870 Taxes (U.S. Plaintiff or              Act/Review or Appeal of
                                                                                                                                          Defendant)                                Agency Decision
    220 Foreclosure                     441 Voting                       463 Alien Detainee                                               871 IRS—Third Party 26 USC                950 Constitutionality of
                                                                                                                                          7609                                      State Statutes
    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate
                                                                         Sentence
    240 Torts to Land                   443 Housing/                     530 General
                                        Accommodations
    245 Tort Product Liability          445 Amer. w/Disabilities -       535 Death Penalty                   IMMIGRATION
    290 All Other Real Property             Employment                   Other:                          462 Naturalization Application
                                        446 Amer. w/Disabilities -       540 Mandamus & Other            465 Other Immigration
                                            Other                        550 Civil Rights                    Actions
                                        448 Education                    555 Prison Condition
                                                                         560 Civil Detainee –
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN                   (Place an “X” in One Box Only)
    1    Original          2 Removed         3 Re-filed            4 Reinstated         5   Transferred from            6 Multidistrict          7 Appeal to                8 Multidistrict
         Proceeding          from State        (See VI               or                     another district
                                                                                            (specify)
                                                                                                                        Litigation
                                                                                                                        Transfer                   District Judge             Litigation      9 Remanded   from
                                                                                                                                                                                                Appellate Court
                             Court             below)                Reopened
                                                                                                                                                   from Magistrate            – Direct
                                                                                                                                                   Judgment                   File
VI. RELATED/                              (See instructions): a) Re-filed Case         YES       NO             b) Related Cases          YES       NO
RE-FILED CASE(S)                                             JUDGE:                                                                                DOCKET NUMBER:
                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION
                                          LENGTH OF TRIAL via                     days estimated (for both sides to try entire case)
VIII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION
                                                                                                         DEMAND $                                      CHECK YES only if demanded in complaint:
     COMPLAINT:                                UNDER F.R.C.P. 23
                                                                                                                                                   JURY DEMAND:                       Yes         No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                           SIGNATURE OF ATTORNEY OF RECORD



FOR OFFICE USE ONLY : RECEIPT #                                 AMOUNT                          IFP                 JUDGE                                  MAG JUDGE
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                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                Authority For Civil Cover Sheet
  The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil
complaint filed. The attorney filing a case should complete the form as follows:
I.      (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official,
giving both name and title.
        (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation
cases, the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
 II.    Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4
is checked, the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.
IV.     Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of
suit code that is most applicable. Click here for: Nature of Suit Code Descriptions.
V.      Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
VI.    Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the
corresponding judges name for such cases.

VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
                           Brief Description: Unauthorized reception of cable service
VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Date and Attorney Signature. Date and sign the civil cover sheet.
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